772 F.2d 908
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.SALEH ALI OUDEIF, PLAINTIFF-APPELLEE,v.AMERICAN STEAMSHIP COMPANY, DEFENDANT-APPELLANT.
    NO. 83-3258
    United States Court of Appeals, Sixth Circuit.
    8/28/85
    N.D.Ohio
    AFFIRMED
    ORDER
    
      1
      BEFORE: LIVELY, Chief Judge; MARTIN, Circuit Judge, and RUBIN, District Judge.*
    
    
      2
      This cause having come on to be heard upon the record, the briefs and the oral argument of the parties, and upon due consideration thereof,
    
    
      3
      The Court finds that no prejudicial error intervened in the judgment and proceedings of the District Court, and IT IS THEREFORE ORDERED that said judgment be, and it hereby is, affirmed.
    
    
      
        *
         The Honorable Carl J. Rubin, United States District Judge for the Southern District of Ohio, sitting by designation
      
    
    